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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

                                                  CASE NO. 18-80124-CR-ROSENBERG
UNITED STATES OF AMERICA,

                  vs.

KENNETH BAILYNSON et al.,
                  Defendants.
                                              /
                                                       NOTICE OF LIS PENDENS

GRANTEES: KENNETH BAILYNSON

TO:      ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER EITHER THE DEFENDANT AND/OR
         GRANTEE any interest in the real property described hereinunder.

         NOTICE IS HEREBY GIVEN, pursuant to the provisions of F.S. § 48.23, as made applicable hereto by the provisions of 28

U.S.C. § 1964, that on June 22, 2018 the United States of America, filed an indictment in the United States District Court for the

Southern District of Florida in the foregoing action. Pursuant to 18 U.S.C. §§ 982(a)(1) and (a)(7) the United States of America may

seek to forfeit the real property located at 4565 Coconut Road, Lake Worth, Florida, Palm Beach County, Florida, and particularly

described as:

                  Parcel 1
                  Lot “E”, Block 107, The Palm Beach Farms Co. Plat No. 7, according to the plat thereof as recorded in Plat
                  Book 5, Page 72, Public Records of Palm Beach, County, Florida.

         Parcel Identification Number: 00-43-44-30-01-107-0050

                  Parcel 2
                  Lot “D”, Block 75, The Palm Beach Farms Co. Plat No. 7, according to the plat thereof as recorded in Plat
                  Book 5, Page 72, Public Records of Palm Beach, County, Florida.

         Parcel Identification Number: 00-43-44-30-01-075-0060

                  Parcel 3
                  Lot “C”, Block 75, The Palm Beach Farms Co. Plat No. 7, according to the plat thereof as recorded in Plat Book
                  5, Page 72, Public Records of Palm Beach, County, Florida.

         Parcel Identification Number: 00-43-44-30-01-075-0040

         FURTHER NOTICE IS HEREBY GIVEN that pursuant to 21 U.S.C. § 853(k), no party claiming an interest in the described

property may (1) intervene in the trial or appeal of the criminal case, or (2) commence an action at law or equity against the United

States concerning the validity of an alleged interest in the property subsequent to the filing of an indictment, except as provided by the
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provisions of 21 U.S.C. § 853(n) following the entry of an order of forfeiture. Information concerning this action may be obtained

from the records of the Clerk of Court for the United States District Court at Miami, Florida.

                                                      Respectfully submitted,

                                                      BENJAMIN G. GREENBERG
                                                      UNITED STATES ATTORNEY

                                             By:       /s/ Karen E. Moore _________________
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